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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

MICHAEL J. DANIELS AND BARABARA                       §
HIGH-DANIELS, ET AL.                                  §
                                                      §
        PLAINTIFFS                                    §
                                                      §
v.                                                    §       CASE NO. 5:19-cv-01280
                                                      §
AETC II PRIVATIZED HOUSING, LLC;                      §
ET AL.                                                §
     DEFENDANTS                                       §


                            DEFENDANTS’ DESIGNATION OF EXPERTS


        Defendants, AETC II Privatized Housing, LLC, AETC II Property Managers, LLC, and

Hunt ELP, Ltd., serve this Designation of Expert Witnesses pursuant to Rule 26(a)(2)(B) of the

Federal Rules of Civil Procedure and pursuant to the Court’s Scheduling Order [150]. All reports

attached hereto are incorporated by reference as if set forth herein.

        Defendants reserve the right to designate additional experts and/or offer additional opinions

from the experts listed herein on the following grounds:

        A. Defendants have not deposed all of the witnesses (including three Plaintiffs and
           Plaintiffs’ experts).

        B. Upon transcription of these depositions, Defendants’ experts will need a reasonable
           period of time to analyze same and potentially clarify and/or designate additional
           opinions.

        C. The disclosure of any rebuttal opinions offered pursuant to Rule 26(a)(2)(D)(ii).

        D. The disclosure of Declarations or other opinions offered in support of any Daubert or
           other motions to exclude and/or limit Plaintiffs’ designated expert testimony.




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        Each of their experts will be made available for a deposition at Plaintiffs’ request. Without

waiver of the reservations set forth above, Defendants may call any of the following experts and

named physicians:

        1. Allison Stock, PhD, MPH
           JS Held
           365 Canal St. Ste. 2760
           New Orleans, LA 2760
        Allison Stock is a toxicologist and epidemiologist with over twenty years of toxicology,

epidemiology, regulatory, and environmental experience. Dr. Stock’s reports provide a statement

of opinions held by her, including certain facts or data considered. Dr. Stock’s reports may be

supplemented as necessary based on circumstances described above. Those reports, including her

curriculum vitae, testifying history, statement of compensation, and list of publications, are

attached hereto as Exhibit 1.1 Finally, Dr. Stock may testify as to any issue raised by other experts

within her field of expertise in this matter.

        2. George F. Coto, Jr.
           JS Held
           365 Canal St. Ste. 2760
           New Orleans, LA 70130
        George F. Coto, Jr. is an Environmental Specialist, Industrial Hygienist, and Mold

Assessment Consultant (MAC 1275, exp. 11/29/23), licensed by the State of Texas, with more

than eighteen years’ experience in environmental consultation. Coto conducted inspections and/or

testing in the Pisano, Hiatt and Wolf residences at Randolph Air Force Base. Mr. Coto’s reports

provide a statement of opinions held by him, including certain facts or data considered. Mr. Coto’s

reports may be supplemented as necessary based on circumstances described above. Those reports,

including his curriculum vitae, testifying history, and list of publications, are attached hereto as


1
 All exhibits submitted with Defendants’ Designation of Experts have been served upon counsel opposite on this
day, but will not be attached hereto or filed.

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Exhibit 2. Mr. Coto charges $175 per hour. Finally, Mr. Coto may testify as to any issue raised by

other experts within his field of expertise in this matter.

        3. Tom Sumner, CIH, CSP, CHMM
           JS Held
           365 Canal St. Ste. 2760
           New Orleans, LA 70130
        Tom Sumner has over 30 years of technical/safety experience in Environmental Health and

Safety projects, and is a Certified Industrial Hygienist. Mr. Sumner’s reports provide a statement

of opinions held by him, including certain facts or data considered. Mr. Sumner’s reports may be

supplemented as necessary based on circumstances described above. Those reports, including his

curriculum vitae, testifying history, and list of publications, are attached hereto as Exhibit 3. Mr.

Sumner charges $175 per hour. Finally, Mr. Sumner may testify as to any issue raised by other

experts within his field of expertise in this matter.

        4. Gary Gross, M.D.
           Laura Gross, M.D.
           Dallas Allergy & Asthma Center
           5499 Glen Lakes Dr. Ste. 100
           Dallas, TX 75231
        Defendants designate Dr. Gary Gross and Dr. Laura Gross as expert witnesses who have

performed, or will perform, physical examination(s) on plaintiffs pursuant to Fed. R. Civ. P. 35 in

this case. Both Dr. Gary Gross and Dr. Laura Gross hold Board Certifications in Internal Medicine

and Allergy and Immunology. These physicians are expected to testify based on their education,

training and experience as physicians rendering treatment, therapy and other medical care as it

relates to the injuries and conditions set forth in Plaintiffs’ Complaint, testimony and medical

records. The physicians will rely on their own personal examination of the Plaintiffs, as well as

information developed by other medical practitioners contained Plaintiffs’ medical records,

including, but not limited to, physical examinations, medical histories, laboratory tests, diagnostic


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tests, CT scans, and x-rays. They are expected to base their testimony on medical and scientific

knowledge as it applies to the issues in this case.

        Dr. Gross and Dr. Gross are expected to testify as to all matters pertaining to their review

of plaintiffs’ medical records, x-rays, and reports, the diagnostic criteria used to diagnose mold-

related (or other residence-related exposure) conditions and the basis of such opinions, the

prognosis with regard to plaintiffs’ medical conditions (or alleged conditions), and general medical

issues with an emphasis on effect that mold exposure and other substances have on human health

generally and with respect to plaintiffs specifically. Drs. Gross are expected to testify as to the

claimed personal injuries asserted by Plaintiffs in this case, the alleged causation between those

injuries and alleged exposure to mold in their homes, medical bills and other damages which may

be claimed as a result of that alleged exposure and future injuries, treatment, and/or procedures

which Plaintiffs may claim are necessary.

        Copies of the Rule 35 physicians’ curriculum vitae are attached as Exhibit 4. Dr. Gary

Gross’ reports for the Pisano family have already been produced. The reports for each additional

Plaintiff will be submitted within the time allowed by Court order [150], forty-five (45) days after

each examination. As set forth in their reports, Drs. Gross and Gross charge $350 per hour for

medical record review, $400 per hour for testimony and $375 per hour for physical examinations.

        5. Joseph Lstiburek, B.A.Sc., M.Eng., Ph.D., P.Eng., ASHRAE Fellow
           Lstriburek Consulting, Inc.
           70 Main St.
           Westford, MA 01886
        Dr. Joseph Lstiburek is a leading building science engineer and recognized authority on

moisture-related building problems and indoor air quality. Dr. Lstiburek will use his education and

experience in addition to his inspection of residences at Randolph Air Force Base to reach opinions

in this case. Dr. Lstiburek’s report provides a statement of opinions held by him, including certain


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facts or data considered. Dr. Lstiburek’s report may be supplemented as necessary based on

circumstances described above. Dr. Lstiburek’s report, his curriculum vitae, testifying history,

statement of compensation, and list of publications, are attached hereto as Exhibit 5. Finally, Dr.

Lstiburek may testify as to any issue raised by other experts within his field of expertise in this

matter.

          6. Ann Reisch, CRE, CCIM, CPM®, RPA
             Reisch Consulting Group, Inc.
             581 Chico Ct.
             Incline Village, NV 89451
          Ann Reisch is an expert in property management, including management company

operations, property maintenance and inspections, landlord/tenant disputes, and other areas of the

residential leasing process. As a Certified Property Manager and licensed real estate broker who

is a member of the Institute of Real Estate Management, National Apartment Association, and

CCIM Institute, among others, Reisch has reviewed the case documents and will provide testimony

based upon her education, experience, and document review. Ms. Reisch’s report provides a

statement of opinions held by her, including certain facts or data considered. Ms. Reisch’s report

may be supplemented as necessary based on circumstances described above. Ms. Reisch’s report,

her curriculum vitae, testifying history, statement of compensation, and list of publications are

attached hereto as Exhibit 6. Finally, Ms. Reisch may testify as to any issue raised by other experts

within her field of expertise in this matter.

          7. Leah E. Anderson
             10246 Lakeview Dr.
             Providence, TX 76227
          Leah   Anderson   is a Historic Preservation        Professional    with   experience in

environmental/historic preservation. Ms. Anderson’s report provides a statement of opinions held

by her, including certain facts or data considered. Ms. Anderson’s report may be supplemented as


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necessary based on circumstances described above. Ms. Anderson’s report, her curriculum vitae,

testifying history, statement of compensation, and list of publications, are attached hereto as

Exhibit 7. Finally, Ms. Anderson may testify as to any issue raised by other experts within her

field of expertise in this matter.

        8. Christopher B. Ticknor, M.D.
           1202 E. Sonterra Blvd., Ste. 202
           San Antonio, TX 78258
        Dr. Christopher Ticknor is licensed to practice medicine in Texas and Board Certified in

Psychiatry and Neurology. He specializes in mental health and mental illnesses, with an emphasis

on evaluation and treatment of emotional disorders such as depression, anxiety, and trauma.

Defendants have designated Dr. Ticknor as expert witness who has, or will, perform mental

examination(s) pursuant to Fed. R. Civ. P. 35 in this case. Dr. Ticknor is expected to testify based

on his education, training, and experience as a physician rendering treatment, therapy, and other

medical care as it relates to the mental injuries and conditions set forth in Plaintiffs’ Complaint,

testimony, and medical records. Dr. Ticknor will rely on his own personal examination and testing

of the Plaintiffs, as well as information developed by other medical practitioners contained in

Plaintiffs’ medical records, including, but not limited to, examinations, medical histories,

laboratory tests, and diagnostic tests.

        Dr. Ticknor is expected to testify as to the claimed mental injuries asserted by Plaintiffs in

this case, the alleged causation between those mental injuries and their residency at either

Randolph or Laughlin Air Force Base, medical bills, and/or other damages which may be claimed

as a result of their residency as well as any claimed future injuries, treatment, and/or procedures.

        A copy of the Rule 35 physicians’ curriculum vitae, fee schedule, list of testimony, and

publications are attached as Exhibit 8. Dr. Ticknor’s reports for the Pisano family have already



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been produced. The reports for any additional Plaintiff will be submitted within the time allowed

by Court order [150], forty-five (45) days after each examination.

        9. Justin O’Rourke, Ph.D., ABPP
           Clinical Neuropsychology of Texas, PLLC
           9643 Huebner Rd., Ste. 103, San Antonio, TX 78240
        Dr. Justin O’Rourke is a Board Certified Clinical Neuropsychologist who is licensed by

the State of Texas. Dr. O’Rourke conducted or will conduct a record review and evaluation of the

Plaintiffs pursuant to Fed. R. Civ. P. 35 in this case. Dr. O’Rourke is expected to testify based on

his education, training, and experience as a neuropsychologist rendering treatment, therapy, and

other medical care as it relates to the mental injuries and conditions set forth in Plaintiffs’

Complaint, testimony, and medical records. Dr. O’Rourke will rely on his own personal

examination and testing of the Plaintiffs, as well as information developed by other medical

practitioners contained Plaintiffs’ medical records, including, but not limited to, examinations,

medical histories, laboratory tests, and diagnostic tests.

        Dr. O’Rourke is expected to testify as to the claimed mental injuries asserted by Plaintiffs

in this case, the alleged causation between those mental injuries and their residency at either

Randolph or Laughlin Air Force Base, medical bills, and/or other damages which may be claimed

as a result of their residency as well as any claimed future injuries, treatment, and/or procedures.

        A copy of the Rule 35 physicians’ curriculum vitae, testifying history, statement of

compensation, and list of publications are attached as Exhibit 9. Dr. O’Rourke’s reports for the

Pisano family have already been produced. The reports for each additional Plaintiff will be

submitted within the time allowed by Court order [150], forty-five (45) days after each

examination.

        10. Dr. Douglas B. Cooper, Ph.D., ABPP-CN
            South Texas Neuropsychology
            16014 Via Shavano

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              San Antonio, TX 78249

        Dr. Douglas B. Cooper is a Board Certified Clinical Neuropsychologist who is licensed by

the State of Texas. Dr. Cooper conducted or will conduct a record review and evaluation of the

Plaintiffs pursuant to Fed. R. Civ. P. 35 in this case. Dr. Cooper is expected to testify based on his

education, training, and experience as a neuropsychologist rendering treatment, therapy, and other

medical care as it relates to the mental injuries and conditions set forth in Plaintiffs’ Complaint,

testimony, and medical records. Dr. Cooper will rely on his own personal examination and testing

of the Plaintiffs, as well as information developed by other medical practitioners contained

Plaintiffs’ medical records, including, but not limited to, examinations, medical histories,

laboratory tests, and diagnostic tests.

        Dr. Cooper is expected to testify as to the claimed mental injuries asserted by Plaintiffs in

this case, the alleged causation between those mental injuries and their residency at either

Randolph or Laughlin Air Force Base, medical bills, and/or other damages which may be claimed

as a result of their residency as well as any claimed future injuries, treatment, and/or procedures.

        A copy of the Rule 35 physicians’ curriculum vitae, testifying history, statement of

compensation, and list of publications are attached as Exhibit 10. The reports for each Plaintiff

will be submitted within the time allowed by Court order [150], forty-five (45) days after each

examination.

        11. Gilbert Martinez, Ph.D., ABPP-CN
            South Texas Neuropsychological Associates, PLLC
            16014 Via Shavano
            San Antonio, TX 78249

        Dr. Gilbert Martinez is a Board Certified Clinical Neuropsychologist who is licensed by

the State of Texas and the State of Louisiana. Dr. Martinez conducted or will conduct a record

review and evaluation of the Plaintiffs pursuant to Fed. R. Civ. P. 35 in this case. Dr. Martinez is


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expected to testify based on his education, training, and experience as a neuropsychologist

rendering treatment, therapy, and other medical care as it relates to the mental injuries and

conditions set forth in Plaintiffs’ Complaint, testimony, and medical records. Dr. Martinez will

rely on his own personal examination and testing of the Plaintiffs, as well as information developed

by other medical practitioners contained Plaintiffs’ medical records, including, but not limited to,

examinations, medical histories, laboratory tests, and diagnostic tests.

        Dr. Martinez is expected to testify as to the claimed mental injuries asserted by Plaintiffs

in this case, the alleged causation between those mental injuries and their residency at either

Randolph or Laughlin Air Force Base, medical bills, and/or other damages which may be claimed

as a result of their residency as well as any claimed future injuries, treatment, and/or procedures.

        A copy of the Rule 35 physicians’ curriculum vitae, testifying history, statement of

compensation, and list of publications are attached as Exhibit 11. The reports for each Plaintiff

will be submitted within the time allowed by Court order [150], forty-five (45) days after each

examination.

        12. Rachel L. Adams, I.H., M.T. (ASCP), MWR, RPIH, RRP
            JS Held
            429 N Pennsylvania St, Ste 304
            Indianapolis, IN 46204

        Rachel L. Adams is an indoor air quality and industrial hygiene professional with particular

experience in mold remediation. Ms. Adams is an IICRC approved instructor and served the

cleaning and restoration industry by providing certification courses as well as participating in the

ANSI accredited IICRC standards for water damage and mold remediation. Ms. Adams’ report

provides a statement of opinions held by her, including certain facts or data considered. Ms.

Adams’s report may be supplemented as necessary based on circumstances described above. Her

report, including her curriculum vitae, testifying history, and list of publications, are attached


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hereto as Exhibit 12. Ms. Adams charges $175 per hour. Finally, Ms. Adams may testify as to any

issue raised by other experts within her field of expertise in this matter.

          13. Argus Environmental Consultants, LLC
              Mark Freemyer, CIEC
              10004 Wurzback, #247
              San Antonio, TX 78230

          Argus Environmental Consultants, LLC (“Argus”) is a licensed Mold Assessment

Company with experience in assessment and remediation of mold growth within indoor

environments. Argus conducted HVAC condition assessments, HVAC cleaning mold assessments,

visual assessments, contents sampling, HVAC duct assessments, and sewage intrusion

assessments on the Plaintiffs’ homes and contents. Argus has not been specifically retained in this

litigation, but they are being designated pursuant to Rule 26(a)(2)(C) to testify regarding the work

done on Plaintiffs’ homes and contents, and the reports Argus rendered in connection with that

work. The summary of facts and opinions on which Argus may testify are included in the following

reports, which have been previously produced with the following bates labels, and are incorporated

herein by reference:

 Title                                           Date          Bates

 Limited HVAC Condition Assessment Report        4/24/2019     Alexander – AETC – Gen01 – 000518
                                                               to 000523
                                                               Alexander – AETC – Gen01 – 000016
                                                               to 000021

 Limited Post HVAC Cleaning Mold                 6/7/2019      Alexander – AETC – Gen01 – 000524
 Assessment Report                                             to 000531
                                                               Alexander – AETC – Gen01 – 000008
                                                               to 000015

 Limited Visual Assessment Report                6/12/2019     Alexander – AETC – Gen01 – 000532
                                                               to 000535
                                                               Alexander – AETC – Gen01 – 000004
                                                               to 000007




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 Limited Contents Sampling Report             5/30/2019   Daniels – AETC – Gen02 – 000169 to
                                                          000179
                                                          Daniels – AETC – Gen01 – 000023 to
                                                          000033
                                                          Daniels – AETC – Gen01 – 000242 to
                                                          000252

 Limited Contents Sampling Report             6/24/2019   Daniels – AETC – Gen02 – 000037 to
                                                          000055
                                                          Daniels – AETC – Gen01 – 000004 to
                                                          000022
                                                          Daniels – AETC – Gen01 – 000253 to
                                                          000271
                                                          Daniels – AETC – Gen02 – 000083 to
                                                          000101

 Limited Visual HVAC and Home Assessment      6/18/2019   Hamilton – AETC – Gen01 – 000549 to
 Report                                                   000551
                                                          Hamilton – AETC – Gen02 – 004973 to
                                                          004975
                                                          Hamilton – AETC – Gen02 – 005799 to
                                                          005801

 Limited Visual HVAC Duct Assessment Report   2/19/2019   Konzen – AETC – Gen01 – 000119 to
                                                          000124
                                                          Konzen – AETC – Gen01 – 000130 to
                                                          000135
                                                          Konzen – AETC – Gen01 – 000519 to
                                                          000524
                                                          Konzen – AETC – Gen01 – 000530 to
                                                          000535
                                                          Konzen – AETC – Gen01 – 000541 to
                                                          000546
                                                          Konzen – AETC – Gen01 – 000550 to
                                                          000555

 Limited Mold Assessment Report               2/26/2019   Konzen – AETC – Gen01 – 000486 to
                                                          000503

 Contents Cleaning Protocol                   3/1/2019    Konzen – AETC – Gen02 – 000448 to
                                                          000450

 Post Contents Cleaning Assessment Report     3/12/2019   Konzen – AETC – Gen01 – 000463 to
                                                          000475
                                                          Konzen – AETC – Gen01 – 000650 to
                                                          000662


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 Limited Sewage Intrusion Assessment Report     10/23/2019 Pisano – AETC – Gen02 – 000032 to
                                                           000039
                                                           Pisano – AETC – Gen01 – 000007 to
                                                           000014
                                                           Pisano – AETC – Gen02 – 000631 to
                                                           000638
                                                           Pisano – AETC – Gen02 – 000641 to
                                                           000648
                                                           Pisano – AETC – Gen02 – 000764 to
                                                           000771
                                                           Pisano – AETC – Gen02 – 000779 to
                                                           000786
                                                           Pisano – AETC – Gen02 – 000794 to
                                                           000801
                                                           Pisano – AETC – Gen02 – 000809 to
                                                           000816
                                                           Pisano – AETC – Gen02 – 000824 to
                                                           000831

 Limited Sewage Intrusion Assessment Report     10/23/2019 Argus – 0000001 to Argus – 0000008
 – Revision 1                                              (Pisano)

 Limited Contents Sampling Report               6/6/2019     Vinales – AETC – Gen02 – 000027 to
                                                             000044
                                                             Vinales – AETC – Gen01 – 000004 to
                                                             000021
                                                             Vinales – AETC – Gen02 – 000979 to
                                                             000996

 Limited Mold Assessment Report                 5/23/2019    Wolf – AETC – Gen01 – 000224 to
                                                             000227

 Post Mold Remediation Passed Clearance         6/12/2019    Wolf – AETC – Gen01 – 000235 to
 Report                                                      000254

 Mold Remediation Protocol                      6/12/2019    Wolf – AETC – Gen01 – 000228 to
                                                             000234


        Argus may testify as to any issue raised by other experts within their field of expertise in

this matter.

        14. Helen Reynolds, Ph.D.
            Ruhter & Reynolds
            3625 N. Hall St. Ste. 750
            Dallas, TX 75219

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        Defendants designate Helen Reynolds, Ph.D. as an economist and damages expert. Dr.

Reynolds may offer testimony pursuant to Rule 26(a)(2)(B) regarding Defendants’ net worth

(should such testimony be admitted at trial). Defendants maintain that no cause of action for

punitive damages is warranted under the facts or law in this case. Moreover, Defendants do not

know which causes of action, if any, will survive summary judgment, what actual damages, if any,

would be appropriate under those surviving causes of action, and whether any surviving claims do

support a claim for punitive damages. However, in the event that the Court determines that

punitive damages on any remaining cause of action are appropriate, Defendants designate Dr.

Reynolds to testify about the net worth of Defendants. Because net worth is highly confidential

information and not relevant unless and until Plaintiffs can and do prevail on a cause of action for

which net worth is relevant and because only the current net worth at time of trial would be

potentially relevant to damages in this case, Dr. Reynolds does not have a report at this time. This

designation will be supplemented as necessary. If called to testify, Dr. Reynolds’ opinions will be

based on her review of the applicable financial statements, and her education, training, and

experience in the areas of accountancy and valuation. Dr. Reynolds charges $425 per hour. Dr.

Reynolds’ curriculum vitae, list of publications, and list of testimony are attached as Exhibit 13.

        15.    Julia Mann, Esq. and Jeff T. Harvey, Esq. of Jackson Walker LLP

        Julia Mann, who is one of the undersigned counsel for Defendants, is a partner in the San

Antonio office of Jackson Walker LLP. She and/or her colleague in that office, Jeff T. Harvey,

who was admitted to the Texas Bar in 1988 and who has particular professional experience in

personal-injury law in the state of Texas, may be called to offer opinions as to the amount,

reasonableness, and necessity of attorneys’ fees incurred by either or both sides in this case, which

will include testimony as to hourly rates, the customary hourly rates in the community, the


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necessary work performed in a case such as this one, and the manner in which fees and expenses

are incurred and maintained. Their testimony and opinions will be based on their professional

experience as litigators in the Texas state and federal courts. No report can be prepared in light of

the ongoing nature of the attorneys’ fees that are incurred in this case. Contact information is set

forth in the signature block below, and personal information about Ms. Mann and Mr. Harvey may

be obtained at the jw.com website.

        SUPPLEMENTATION. Defendants reserve the right to supplement these opinions and

expert designations in keeping with the Federal Rules of Civil Procedure. Defendants also reserve

the right to offer rebuttal expert testimony in keeping with the Federal Rules of Civil Procedure.

Defendants also reserve the right to supplement these opinions upon receipt and review of

additional medical records, depositions, or discovery, including responses to discovery requests

and rebuttals to opinions of any expert witnesses not already received.

               Respectfully submitted this the 14th day of March, 2022.

                                              By: /s/ Walter H. Boone
                                                 Walter H. Boone, MS Bar No. 8651
                                                 (Admitted to W. D. of TX on 7/28/2020)
                                                 Jennifer J. Skipper, State Bar No. 24076171
                                                 BALCH &BINGHAM LLP
                                                 188 East Capitol Street, Suite 1400
                                                 Jackson, MS 39201
                                                 Telephone: (601) 961-9900
                                                 Facsimile: (601) 961-4466
                                                 E-mail:     wboone@balch.com
                                                             jskipper@balch.com
                                              By: /s/ Julia W. Mann
                                                 Julia W. Mann, State Bar No. 00791171
                                                 Erica Benites Giese, State Bar No. 24036212
                                                 JACKSON WALKER LLP
                                                 112 E. Pecan Street, Suite 2400
                                                 San Antonio, Texas 782015
                                                 Telephone: 210-978-7761
                                                 Facsimile: 210-242-4646

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                                       E-Mail:   jmann@jw.com
                                    Attorneys for AETC II Privatized Housing, LLC,
                                    AETC II Property Managers, LLC, and Hunt ELP,
                                    Ltd.




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of March, 2022, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system and sent notification via e-mail of such filing

to the following:

        Randall A. Pulman, Esq.
        Ryan C. Reed, Esq.
        Sarah Jackson Donahue, Esq.
        PULMAN, CAPPUCIO, & PULLEN, LLP
        2161 NW Military Highway, Suite 400
        San Antonio, TX 78213
        (210) 222-9494 Telephone
        (210) 892-1610 Facsimile
        E-Mail: rpulman@pulmanlaw.com
                rreed@pulmanlaw.com
                sdonahue@pulmanlaw.com

        James R. Moriarty, Esq.
        LAW OFFICES OF JAMES R. MORIARTY
        4119 Montrose, Suite 250
        Houston, TX 77006
        (713) 528-0700 Telephone
        (713) 528-1390 Facsimile
        E-Mail: jim@moriarty.com

        Mikal C. Watts
        Francisco Guerra, IV
        Jennifer Arlene Neal
        Robert E. Brzezinski
        WATTS GUERRA, LLP
        Four Dominion Drive, Bldg. 3, Suite 100
        San Antonio, TX 78257
        (210) 477-0500
        E-Mail: mcwatts@wattsguerra.com
                 fguerra@wattsguerra.com
                 jneal@wattsguerra.com
                 rbrzezinski@wattsguerra.com

                                             /s/ Walter H. Boone
                                             Walter H. Boone, MS Bar No. 8651
                                             (Admitted to W. D. of TX on 7/28/2020)




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